                            UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

In re:                                                         Case No. 22-42348
                                                               Chapter 11
SIGNTEXT 2, INC., et al.,1                                     Judge Thomas J. Tucker

            Debtors.                                           Jointly Administered
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         ORDER DENYING, WITHOUT PREJUDICE, DEBTOR SIGNTEXT 2, INC.’S
                           MOTION FOR TURNOVER

          This case is before the Court on the Debtor Signtext 2, Inc.’s motion entitled “Motion for

Turnover,” filed on June 23, 2022 (Docket # 67, the “Motion”). The Motion seeks to collect an

account receivable allegedly owing to the Debtor, despite couching the Motion as seeking an

order “compelling Happy’s Pizza Development, LLC to turnover property of the bankruptcy

estate to the Debtor.” (Mot. at 1.) The Court must deny the Motion, however, because the

Motion seeks “to recover money or property,” within the meaning of Fed. R. Bankr. P. 7001(1),

and that rule requires that the requested relief must be sought by an adversary proceeding.

          Accordingly,

          IT IS ORDERED that the Motion (Docket # 67) is denied, without prejudice to the

Debtor’s right to seek the same relief by filing an adversary proceeding.

          IT IS FURTHER ORDERED that no later than June 27, 2022, the Debtor’s attorney must

serve a copy of this Order on Happy’s Pizza Development, LLC, and file proof of such service.




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         The Debtors in these jointly-administered cases are Signtext 2, Inc. (Case No. 22-42348) and
Michael Frasier and Cheryl Frasier (Case No. 22-42412).



   22-42348-tjt       Doc 69     Filed 06/24/22    Entered 06/24/22 13:44:06          Page 1 of 2
Signed on June 24, 2022




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   22-42348-tjt   Doc 69   Filed 06/24/22   Entered 06/24/22 13:44:06   Page 2 of 2
